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WESTERN DISTRICT OF TENNESSEE05 AUG n mm 28
WESTERN DIVISION
wm n.-”- “;;.;, %:EMP+HS
CHRIS A. TERRELL JUDGMENT IN A. CIVIL CASE
T.C. OUTL`AW CASE NO: 04-2822-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Denying Motion For Relief From Judgment And Order Directing Clerk
To Enter Judgment entered on Auqust 8, 2005, this cause is hereby
dismissed.

THOMAS M. GOULD
Clerk of Court

(BYV ne£\£ty cleri’

 

 

This document entered on the docket sheet in compliance
with nme 53 and/or 79(3) FHCP on ~/ ~ // y

 

UNITED STATES DISTRICT OURT- WESTERNDISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-02822 Was distributed by faX, mail, or direct printing on
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Chris A. Terrell
FCI-l\/[El\/[PH[S

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P.O. BOX 34550
Memphis7 TN 3 8184--05 5

Honorable Bernice Donald
US DISTRICT COURT

